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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Action No. 21-cr-00229-RBJ

UNITED STATES OF AMERICA,

      Plaintiff,

v.

DAVITA INC., and
KENT THIRY,

      Defendants.


 UNOPPOSED MOTION OF CHAMBER OF COMMERCE OF THE UNITED STATES
 OF AMERICA TO PARTICIPATE AS AMICUS CURIAE AND BRIEF SUPPORTING
         DEFENDANTS’ JOINT MOTION TO DISMISS INDICTMENT


                   MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF

      The Chamber of Commerce of the United States of America requests leave to file

a brief of amicus curiae in support of Defendants’ Joint Motion to Dismiss (Dkt. No 49).

Defendants do not oppose this request and the United States takes no position.

      The Chamber is the world’s largest business federation.             It represents

approximately 300,000 direct members and indirectly represents the interests of more

than three million companies and professional organizations of every size, in every

industry sector, and from every region of the country. An important function of the

Chamber is to represent the interests of its members in matters before Congress, the

Executive Branch, and the courts. To that end, the Chamber regularly files amicus curiae

briefs in cases such as this one that raise issues of concern to the Nation’s business


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community. See, e.g., Br. of Amicus Curiae Chamber of Commerce of the U.S., United

States v. Surgical Care Affiliates LLC, No. 3:21-cr-00011 (N.D. Tex. April 7, 2021); Br. of

Amici Curiae Chamber of Commerce of the U.S. & National Ass’n of Mfrs., Yates v. United

States, No. 13-7451 (July 3, 2014); Br. of Amicus Curiae Chamber of Commerce of the

U.S., Skilling v. United States, No. 08-1394 (Dec. 9, 2009).

       Criminally prosecuting offenses not yet held by courts to be per se illegal imposes

an unwarranted burden on American companies and executives, who are entitled to fair

notice of what conduct is and is not prohibited by the federal antitrust laws. Accordingly,

the Chamber and its members have a strong interest in this Court’s limiting criminal

prosecutions under the Sherman Act to a subset of the conduct that the courts have

determined to be per se illegal.

       For the foregoing reasons, the Chamber respectfully requests this Court grant

leave for the filing of the following amicus brief.



       PROPOSED BRIEF OF AMICUS CURIAE SUPPORTING DEFENDANTS’
                 JOINT MOTION TO DISMISS INDICTMENT



                                SUMMARY OF ARGUMENT

       By purporting to declare a new per se criminal offense, the Department of Justice

has usurped antitrust policy- and decision-making authority vested in Congress and the

courts. What is more, criminally prosecuting practices not firmly established by courts as

per se unlawful at the time the conduct occurred violates due process principles and

contravenes a host of Supreme Court cases emphasizing the need for clarity in federal

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criminal prohibitions.    Because no court has previously held that non-solicitation

agreements are per se illegal, this prosecution falls far short of the fair notice that due

process requires. The Court should dismiss the indictment.

                                        ARGUMENT

I.   Defendants lacked the fair notice required by due process because no court
     has declared non-solicitation agreements to be per se illegal

       The text of “[s]ection 1 of the Sherman Act prohibits ‘[e]very contract, combination

in the form of trust or otherwise, or conspiracy, in restraint of trade or commerce among

the several States.’” Leegin Creative Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877,

885 (2007) (quoting 15 U.S.C. § 1). The Supreme Court, however, has interpreted § 1 as

“outlaw[ing] only unreasonable restraints” of trade. State Oil Co. v. Khan, 522 U.S. 3, 10

(1997). With few exceptions, courts reviewing claims brought under § 1 of the Sherman

Act apply the default “rule of reason,” which requires “the factfinder [to] weigh[] all of the

circumstances of a case in deciding whether a restrictive practice should be prohibited as

imposing an unreasonable restraint on competition.” Bus. Elecs. Corp. v. Sharp Elecs.

Corp., 485 U.S. 717, 723 (1988) (quoting Cont’l T.V., Inc. v. GTE Sylvania Inc., 433 U.S.

36, 49 (1977)).

       Courts have held only a narrow category of agreements to be per se illegal. That

designation “eliminates the need to study the reasonableness of an individual restraint in

light of real market forces at work.” Leegin, 551 U.S. at 886 (citing Bus. Elecs. Corp., 485

U.S. at 723). Due to “the inherent limits on a court’s ability to master an entire industry”

and the fact “that there are often hard-to-see efficiencies attendant to complex business

arrangements,” courts “take special care not to deploy these condemnatory tools until

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[they] have amassed ‘considerable experience with the type of restraint at issue’ and ‘can

predict with confidence that it would be invalidated in all or almost all instances.’” Nat’l

Collegiate Athletic Ass’n v. Alston, 141 S. Ct. 2141, 2156 (2021) (quoting Leegin, 551 U.S.

at 866-67). “[I]t can take ‘economists years, sometimes decades, to understand why

certain business practices work [and] determine whether they work because of increased

efficiency or exclusion.” Id. (quoting Frank H. Easterbrook, On Identifying Exclusionary

Conduct, 61 NOTRE DAME L. REV. 972, 975 (1986) (second alteration in original)). The

Supreme Court has thus “expressed reluctance to adopt per se rules with regard to

‘restraints imposed in the context of business relationships where the economic impact

of certain practices is not immediately obvious.’” State Oil Co., 522 U.S. at 10 (quoting

FTC v. Ind. Fed’n of Dentists, 476 U.S. 447, 458–59 (1986)). Indeed, in recent decades,

the Supreme Court has repeatedly overruled old decisions that held particular restraints

to be per se anticompetitive, rather than identifying new categories of per se conduct.

Leegin, 551 U.S. at 882 (overruling the holding of Dr. Miles Medical Co. v. John D. Park

& Sons Co., 220 U.S. 373 (1911), that vertical resale price maintenance agreements are

per se unlawful); State Oil Co., 522 U.S. at 7 (overruling the holding of Albrecht v. Herald

Co., 390 U.S. 145 (1968), that vertical maximum price fixing agreements are per se

unlawful).

       The distinction between the per se and rule-of-reason standards is critically

important when it comes to criminal prosecution of antitrust violations.         The Fifth

Amendment’s Due Process Clause forbids enforcement of a criminal statute that “fails to

provide a person of ordinary intelligence fair notice of what is prohibited, or is so


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standardless that it authorizes or encourages seriously discriminatory enforcement.”

United States v. Williams, 553 U.S. 285, 304 (2008). “To make the warning fair, so far as

possible the line” marking out criminal conduct “should be clear.” United States v. Bass,

404 U.S. 336, 348 (1971) (quoting McBoyle v. United States, 283 U.S. 25, 27 (1931)).

       Fair notice typically comes from the criminal statute itself. See F.C.C. v. Fox

Television Stations, Inc., 567 U.S. 239, 253 (2012) (“A conviction or punishment fails to

comply with due process if the statute or regulation under which it is obtained ‘fails to

provide a person of ordinary intelligence fair notice of what is prohibited . . . .’” (quoting

Williams, 553 U.S. at 304)); Rabe v. Washington, 405 U.S. 313, 315 (1972) (per curiam)

(“To avoid the constitutional vice of vagueness, it is necessary, at a minimum, that a

statute give fair notice that certain conduct is proscribed.”). But “[t]he Sherman Act, unlike

most traditional criminal statutes, does not, in clear and categorical terms, precisely

identify the conduct which it proscribes.” United States v. U.S. Gypsum Co., 438 U.S.

422, 438 (1978). Instead, courts have fleshed out the imprecise language of the Sherman

Act through common-law adjudication of which conduct falls within the Sherman Act’s

ambit. See Leegin, 551 U.S. at 899 (“From the beginning the Court has treated the

Sherman Act as a common-law statute.”); Nw. Airlines, Inc. v. Transp. Workers, 451 U.S.

77, 98, n.42 (1981) (“In antitrust, the federal courts enjoy more flexibility and act more as

common-law courts than in other areas governed by federal statute.”).

       Consequently, litigants must necessarily rely on courts to provide notice of which

conduct is subject to criminal prosecution under the Sherman Act. But because courts

applying the rule of reason address individual restraints after the fact based on a


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complicated and case-specific economic record, it is difficult “to tell in advance whether

projected actions will run afoul of the Sherman Act’s criminal strictures.” U.S. Gypsum

Co., 438 U.S. at 439 (quoting Report of the Attorney General’s National Committee to

Study the Antitrust Laws 349 (1955)). Courts thus provide adequate advance notice for

criminal purposes only when they declare certain conduct to be per se illegal regardless

of the factual record or economic effects in a given case. Cf. United States v. Topco

Assocs., Inc., 405 U.S. 596, 610 n.10 (1972) (“Without the per se rules, businessmen

would be left with little to aid them in predicting in any particular case what courts will find

to be legal and illegal under the Sherman Act.”); Leegin, 551 U.S. at 917 (Breyer, J.,

dissenting) (“Are there special advantages to a bright-line rule? Without such a rule, it is

often unfair . . . for enforcement officials to bring criminal proceedings.”).

       The Justice Department’s policy of criminally prosecuting only certain per se

antitrust violations reflects the profound due process concerns posed by the Sherman

Act’s vague text and the fact-specific nature of rule-of-reason judicial decisions. See U.S.

Dep’t of Justice, Antitrust Div., Antitrust Division Manual, at III-12 (5th ed. 2017) (“In

general, current Division policy is to proceed by criminal investigation and prosecution in

cases involving horizontal, per se unlawful agreements such as price fixing, bid rigging,

and customer and territorial allocations.”); accord Br. for the U.S. in Opp’n at 11, Sanchez

v. United States, No. 19-288 (Nov. 25, 2019) (“[T]he government brings criminal antitrust

prosecutions only based on conduct that violates the per se rule.”).             Enforcing the

constitutionally mandated principle that only court-designated per se violations may give




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rise to criminal prosecution is vital to ensuring that defendants receive the fair notice

required by the Fifth Amendment.

        Here, fair notice was lacking because no court has held that non-solicitation

agreements are per se illegal. Only one court has even considered non-solicitation

agreements, and it declined to apply the per se rule. See, e.g., Yi v. SK Bakeries, LLC,

2018 WL 8918587, at *4 (W.D. Wash. Nov. 13, 2018).              Cases involving no-hiring

agreements or market-allocation agreements are irrelevant. The alleged agreements

here did not prohibit one employer from hiring the other’s employees. See Dkt. 49,

Defendants’ Joint Motion to Dismiss at 9. And there are no cases holding that employee

non-solicitation agreements are per se illegal market-allocation agreements. Id. at 7-9.

The Indictment’s description of non-solicitation agreements as agreements to “allocate

employees” is nothing more than an impermissible, backdoor effort to shoehorn non-

solicitation agreements into the ill-fitting market-allocation framework. See Indict. ¶¶ 10,

18. The Government’s effort to newly classify a business arrangement as falling within a

pre-existing per se category—when no court has previously done so—only underscores

the need for a rule-of-reason approach.

II.   DOJ “guidance” classifying naked no-poaching agreements as per se illegal
      violates separation of powers and cannot provide the fair notice required by
      due process

        The per se rule is a judicial construct whose contours have been carefully shaped

over time as common-law judges gained collective experience in assessing the pro- or

anti-competitive effects of various economic arrangements. As a creature of common

law, the limited category of per se offenses cannot be expanded at the whim of the Justice


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Department and Federal Trade Commission (“FTC”) and applied for the first time in the

context of a criminal prosecution without raising insuperable due process hurdles. To be

sure, the Justice Department and FTC share concurrent responsibility for enforcing the

antitrust laws. Those agencies’ methods, priorities, experience, and guidance are all

important tools that help consumers, companies, and courts appreciate the Executive

Branch’s view of the scope of antitrust laws. However, the governing law—the source

that after all must provide fair notice of criminal conduct—derives exclusively from

Congress and the courts, originating in statute and developed through jurisprudence.

       In 2016, the FTC and the Antitrust Division of the Justice Department jointly issued

guidance for human resource professionals regarding the applicability of the antitrust laws

to the hiring and compensation of employees.        U.S. Dep’t of Justice & Fed. Trade

Comm’n, Antitrust Guidance for Human Resource Professionals (Oct. 2016), available at

www.justice.gov/atr/file/903511/download.    The guidance announced an intention to

undertake a major enforcement policy shift, stating that the Justice Department intends

to prosecute naked no-poaching agreements as criminal per se violations. Id. at 4.

       The agencies’ pronouncement that no-poaching agreements are now per se

offenses subject to criminal prosecution appropriates authority squarely vested in

Congress and the courts.       While the Justice Department possesses prosecutorial

discretion, it can neither create criminal offenses nor satisfy due process merely by

declaring its intention to criminally prosecute those newly designated per se restraints.

       Criminally prosecuting non-solicitation agreements based on nothing more than

Justice Department guidance, where neither statutory text nor judicial decision holds such


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agreements per se illegal, violates core constitutional protections.1 Due process “guards

against arbitrary or discriminatory law enforcement by insisting that a statute”—or here,

common-law judges applying the statute—“provide standards to govern the actions of

police officers, prosecutors, juries, and judges.” Sessions v. Dimaya, 138 S. Ct. 1204,

1212 (2018) (emphasis added). This principle “is a corollary of the separation of powers—

requiring that Congress, rather than the executive . . . , define what conduct is

sanctionable and what is not.” Id. The Justice Department’s approach would allow the

prosecutor to both define the crime and then bootstrap that ultra vires definition to provide

“notice” to the defendant. But “[i]f the separation of powers means anything, it must mean

that the prosecutor isn’t allowed to define the crimes he gets to enforce.” United States

v. Nichols, 784 F.3d 666, 668 (10th Cir. 2015) (Gorsuch, J., dissenting from the denial of

rehearing en banc). Surely then, the Justice Department, which enforces antitrust law,

cannot define which conduct is per se illegal and expect that to count as fair notice of

criminal liability. This due-process problem is further compounded where, as here, the

Department attempts to retroactively enforce its interpretation of the law with respect to

conduct that largely preceded the guidance at issue. See Indict. ¶¶ 9, 11.

       Only courts empowered by the Sherman Act, not federal prosecutors, are

authorized to declare new per se violations. While the Justice Department confidently



   1   In the directly related case, United States v. Surgical Care Affiliates LLC, the
Government conceded the guidance “ha[s] no legal significance.” Br. for the U.S. in Opp’n
at 29, United States v. Surgical Care Affiliates LLC, No. 3:21-cr-00011 (April 30, 2021).
But, as Defendants note, Dkt. 49, Defendants’ Joint Motion to Dismiss at 11 n.4, the
guidance highlights the lack of foundation for declaring non-solicitation agreements per
se illegal.

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 proclaims certain “naked” no-poaching agreements to be “irredeemable” and bereft of

 competitive virtue, Antitrust Guidance for HR Professionals at 4, the Supreme Court has

 held that “[i]t is only after considerable experience with certain business relationships that

 courts classify them as per se violations of the Sherman Act.” Topco Assocs., 405 U.S.

 at 607-08 (emphasis added). Courts—not bureaucrats—decide whether conduct is so

 “manifestly anticompetitive” as to warrant per se condemnation. See Bus. Elecs., 485

 U.S. at 723; Broad. Music, Inc. v. CBS, 441 U.S. 1, 19–20 (1979). Even the guidance

 itself casts doubt on the per se classification, stating only that an agreement between

 companies refusing to solicit or hire each other’s employees “likely” violates antitrust laws.

 Guidance for Human Resources Professionals at 3. Whether or not courts ultimately

 conclude that no-poaching or non-solicitation agreements are per se unlawful after

 “considerable experience” in evaluating them, the undisputed fact remains that they have

 not yet done so. Until they do, the Constitution prohibits prosecuting a company for

 conduct not clearly defined as criminal by statute or authoritative judicial decisions.

 III.   A criminal rule-of-reason case is incompatible with due process, while
        limiting prosecutions to specific per se offenses provides certainty to
        businesses and consumers

        The Indictment relies explicitly and exclusively on a per se theory. Thus, to dismiss

 the Indictment, the Court need only observe that neither Congress nor the courts have

 condemned non-solicitation agreements as per se illegal, let alone offenses worthy of

 criminal treatment. It is nonetheless worth emphasizing why a criminal rule-of-reason

 case would be anathema to bedrock principles of due process. The rule-of-reason

 analysis requires the factfinder to determine “whether the questioned practice imposes


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 an unreasonable restraint on competition, taking into account a variety of factors,

 including specific information about the relevant business, its condition before and after

 the restraint was imposed, and the restraint’s history, nature, and effect.” State Oil Co.,

 522 U.S. at 10. The court must apply a “three-step, burden-shifting framework,” under

 which the plaintiff must first prove that the challenged conduct “has a substantial

 anticompetitive effect that harms consumers in the relevant market.” Ohio v. Am. Express

 Co., 138 S. Ct. 2274, 2284 (2018). If the plaintiff carries this burden, “then the burden

 shifts to the defendant to show a procompetitive rationale for the restraint.         If the

 defendant makes this showing, then the burden shifts back to the plaintiff to demonstrate

 that the procompetitive efficiencies could be reasonably achieved through less

 anticompetitive means.” Id. (citations omitted).

        This type of analysis often entails many years of litigation and dueling experts. As

 the Department of Justice’s own policy recognizes, see supra at 6, it is inconceivable that

 that the post hoc, reticulated, and record-intensive rule-of-reason analysis could provide

 sufficiently clear notice to support a future criminal prosecution on an entirely different

 factual record. The Supreme Court has acknowledged as much, explaining that because

 the rule of reason is an “open-ended and fact-specific standard[],” “judicial elaboration of

 the [Sherman] Act” under the rule of reason does not “yield[] the clear and definitive rules

 of conduct which the statute omits.” U.S. Gypsum Co., 438 U.S. at 438.2 Limiting criminal



    2 In U.S. Gypsum, the Supreme Court affirmed the reversal of antitrust convictions
 due to the lack of an intent element in the jury instructions and did not address whether
 due process limits criminal prosecution to agreements previously held by courts to be per
 se unlawful.

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 prosecutions to clearly designated per se offenses is thus not merely good policy; it also

 avoids imposing criminal liability under a rule-of-reason regime that provides scant

 warning of prohibited conduct.

        Businesses, employees, and consumers alike need certainty to structure their

 conduct and affairs. Part of this certainty is knowing what conduct can lead to criminal

 prosecution. Allowing the Executive to retroactively criminalize behavior strikes at the

 heart of the ordered liberty guaranteed to all Americans. But vague criminal laws also

 have harmful practical consequences. They “inevitably lead citizens to steer far wider of

 the unlawful zone . . . than if the boundaries of the forbidden areas were clearly marked.”

 Grayned v. City of Rockford, 408 U.S. 104, 109 (1972) (internal quotation marks omitted).

 Because “the behavior proscribed by the [Sherman] Act is often difficult to distinguish from

 the gray zone of socially acceptable and economically justifiable business conduct,”

 imposition of criminal liability for conduct that courts have not previously found per se

 illegal “holds out the distinct possibility of overdeterrence; salutary and procompetitive

 conduct lying close to the borderline of impermissible conduct might be shunned by

 businessmen who chose to be excessively cautious in the face of uncertainty regarding

 possible exposure to criminal punishment.” U.S. Gypsum Co., 438 U.S. at 441. American

 businesses make millions of complicated economic decisions each and every day. They

 are entitled to clear notice from the lawgiver—not just from the prosecutor—of what

 conduct is criminally out of bounds.

                                        CONCLUSION

        For the reasons set forth above, amicus respectfully urges this Court to dismiss


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 the Indictment.



       I confirm that I have conferred with the opposing counsel in good faith regarding

 this motion, as required under local rule D.C.COLO.LCviR 7.1(a). Defendants have

 consented. The United States takes no position on the motion.



 Dated at Houston, Texas, this 21st day of September 2021.

                                                  Respectfully submitted,

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   Counsel for Amicus Curiae Chamber of Commerce of the United States of America


                               CERTIFICATE OF SERVICE

       I hereby certify that on September 21, 2021, I electronically filed the foregoing with

 the Clerk of the Court for the United States District Court for the District of Colorado by

 using the CM/ECF system, which will serve this document on all counsel of record.

                                                         s/Aaron M. Streett
                                                         Aaron M. Streett
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